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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                *
 UNITED STATES OF AMERICA,                      *
                                                *
               v.                               *    CRIMINAL NO. LO-19-0449
                                                *
                                                *
 KENNETH RAVENELL, et al.,                      *
                                                *
                    Defendants.                 *
                                             *******


          CONSENT MOTION TO MODIFY CONDITIONS OF DEFENDANT
        TREEM’S RELEASE AND MEMORANDUM IN SUPPORT OF MOTION

       Defendant, Joshua R. Treem, with the consent of the government, moves for a modification

of the January 8, 2021 order setting conditions of release (Dkt #149) as follows:

       1.      The defendant is allowed to have personal contact with a lawyer (who has been

identified to the government) with whom he has had a significant longstanding personal

relationship, provided that he refrain from discussing with this attorney any information or

testimony relating to her, or relating to the law firm she has represented that is identified on the

government’s witness list (or its current and former members and employees), or any information

produced by the government in discovery.

       2.      The defendant is allowed to have personal contact with attorneys identified on the

government’s witness list, provided that he refrain from discussing his case with any such attorney

who may be a witness in his case, except that he may discuss with members of Brown, Goldstein

& Levy LLP whether the pending charges might disqualify or affect his representation of a client

in matters unrelated to the pending case.
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        3.      The defendant must otherwise avoid all contact, directly or indirectly, with any

person who is or may be a victim or witness in the investigation or prosecution, including potential

victims, co-defendants, co-conspirators and/or any other person identified in writing by the

government.

                                                 Respectfully submitted,

                                                 JOSHUA R. TREEM
                                                 By Counsel:

                                                   /s/ Robert P. Trout
                                                   Robert P. Trout, Bar No. 01669
                                                   rtrout@troutcacheris.com
                                                   Trout Cacheris & Solomon PLLC
                                                   1627 Eye Street, N.W., Suite 1130
                                                   Washington, D.C. 20006
                                                   Telephone: (202) 464-3311
                                                   Facsimile: (202) 464-3319


                                                   /s/ Daniel Goldstein
                                                   Daniel Goldstein, Bar No. 01036
                                                   dan@gold-stein.com
                                                   131 Rte 9A
                                                   Spofford, NH 03462
                                                   Telephone: (410) 218-8537


                                         Certificate of Service

         I hereby certify that on this 2nd day of February, 2021, I caused a copy of Defendant Treem’s
Motion to Modify Conditions of Release and Memorandum in Support of Motion to be served upon counsel
for the United States of America via ECF and that true and correct copies of the filing are available to all
parties through ECF and/or PACER.



                                                 /s/ Robert P. Trout
                                                 Robert P. Trout
                                                 Attorney for Joshua R. Treem




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                               *
 UNITED STATES OF AMERICA,                     *
                                               *
               v.                              *    CRIMINAL NO. LO-19-0449
                                               *
                                               *
 KENNETH RAVENELL, et al.                      *
                                               *
                    Defendants.                *
                                            *******


              MEMORANDUM IN SUPPORT OF DEFENDANT TREEM’S
             CONSENT MOTION TO MODIFY CONDITIONS OF RELEASE

       On January 8, 2021, following Joshua Treem’s initial appearance, the court entered an

order setting the conditions of his release (Dkt #149). The conditions include the requirement that

Mr. Treem must avoid contact, directly or indirectly, with any person who is or may be a victim

or witness in the investigation or prosecution, including potential victims, co-defendants, co-

conspirators and/or any other person identified in writing by the government.

       At the time of Mr. Treem’s arraignment, on January 26, 2021, undersigned counsel

informed the court of specific circumstances, previously disclosed to the government, that

warranted modifications to the conditions of release. First, Mr. Treem has a longstanding personal

relationship with a lawyer, previously identified to the government, who has represented the law

firm identified as a witness by the government. And second, as a prominent attorney who has been

active in the bar for many years, Mr. Treem can be expected to engage from time to time with

other attorneys, including possibly one of more who are identified on the government’s witness

list. One attorney on the government’s witness list is Mr. Treem’s law partner, so of course he

would be expected to have contact with his law partner.
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       Following further communications with the government, the parties are in agreement that

the conditions of release should be modified as follows:

       1.      The defendant is allowed to have personal contact with a lawyer (who has been

identified to the government) with whom he has had a significant longstanding personal

relationship, provided that he refrain from discussing with this attorney any information or

testimony relating to her, or relating to the law firm she has represented that is identified on the

government’s witness list (or its current and former members and employees), or any information

produced by the government in discovery.

       2.      The defendant is allowed to have personal contact with attorneys identified on the

government’s witness list, provided that he refrain from discussing his case with any such attorney

who may be a witness in his case, except to the extent that he needs to discuss with members of

Brown, Goldstein & Levy LLP as to whether the pending charges might disqualify or affect his

representation of a client in matters unrelated to the pending case.

       3.      The defendant must otherwise avoid all contact, directly or indirectly, with any

person or is or may be a victim or witness in the investigation or prosecution, including potential

victims, co-defendants, co-conspirators and/or any other person identified in writing by the

government.




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                           Respectfully submitted,

                           JOSHUA R. TREEM
                           By Counsel:

                            /s/ Robert P. Trout
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